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     01-02_Exhibit 1_SEALED_24-cv-01269



                                          UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION



MERCH TRAFFIC, LLC,

                   PLAINTIFF,
                                                             CASE NO.: 1:24-CV-01269
V.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

                   DEFENDANTS.




                                          EXHIBIT 1 TO THE COMPLAINT
        Case: 1:24-cv-01269 Document #: 13-1 Filed: 02/27/24 Page 2 of 5 PageID #:368

                                  MERCH TRAFFIC LLC
EXHIBIT 1                                                          TRADEMARK REGISTRATION




                                              1
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                                  MERCH TRAFFIC LLC
EXHIBIT 1                                                          TRADEMARK REGISTRATION




                                              2
        Case: 1:24-cv-01269 Document #: 13-1 Filed: 02/27/24 Page 4 of 5 PageID #:370

                                  MERCH TRAFFIC LLC
EXHIBIT 1                                                          TRADEMARK REGISTRATION




                                              3
        Case: 1:24-cv-01269 Document #: 13-1 Filed: 02/27/24 Page 5 of 5 PageID #:371

                                  MERCH TRAFFIC LLC
EXHIBIT 1                                                          TRADEMARK REGISTRATION




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